                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-656

                                        No. COA20-911

                                    Filed 7 December 2021

     Cumberland County, No. 17CVD9178

     KELLY MALONE-PASS, Plaintiff,

                  v.

     DAVID SCHULTZ, Defendant.


           Appeal by plaintiff from order entered on or about 4 November 2019 by Judge

     Edward A. Pone in District Court, Cumberland County. Heard in the Court of

     Appeals 25 May 2021.


           Culbertson &amp; Associations, by K.E. Krispen Culbertson, for plaintiff-appellant.

           No brief filed by defendant-appellee.


           STROUD, Chief Judge.


¶1         Kelly Malone-Pass (“Mother”) appeals from an amended order granting David

     Schultz (“Father”) sole legal and physical custody of their two minor children and

     denying Mother visitation with the children. Mother first argues the trial court

     lacked subject matter jurisdiction or should have declined to exercise it under North

     Carolina General Statute § 50A-208(a). N.C. Gen. Stat. § 50A-208(a) (2019). Mother

     then challenges Findings of Fact and Conclusions of Law that she acted

     inconsistently with her constitutionally protected status as a parent, that Father was
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     a fit and proper person to have sole legal and physical custody, that granted Father

     sole legal and physical custody, and that determined it was not in the children’s best

     interest to have visitation with Mother. After de novo review, we hold the trial court

     had jurisdiction under the Uniform Child Custody Jurisdiction and Enforcement Act

     (“UCCJEA”) and that North Carolina General Statute § 50A-208(a)’s jurisdictional

     bar does not apply here. In addition, we hold that the trial court’s Findings of Fact

     support its ultimate Findings and Conclusions of Law that it was in the children’s

     best interest for Father to have sole legal and physical custody and for Mother to have

     no visitation, and the trial court did not abuse its discretion by entering this order.

     Therefore, we affirm.

                                       I.      Background

¶2          The uncontested Findings of Fact in this case show the proceedings in North

     Carolina started when Mother filed a petition to register a foreign child custody order

     from New York in late 2017.1 The New York custody order granted Mother and

     Father joint custody, with the children, D.S. and A.S.,2 living primarily with Father,

     and set out visitation schedules. The New York order also required the parties to




            1 The record in this case was filed by Mother as the “Proposed Record on Appeal.”

     Father did not file any “notices of approval or objections, amendments, or proposed
     alternative records on appeal,” so Mother’s “proposed record on appeal thereupon constitutes
     the record on appeal.” N.C. R. App. P. Rule 11(b).
            2 We use the children’s initials to shield their identity.
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     register the order in North Carolina within seven days and stated that “New York

     State is relinquishing jurisdiction.” The North Carolina trial court “asserted and

     assumed jurisdiction from New York over the minor children and the parties,” finding

     at the time “both parties and the children resided in North Carolina.”

¶3         Later, “both parties filed subsequent motions and countermotions for North

     Carolina to assert jurisdiction, civil contempt, and motions to modify child custody

     due to a substantial change in circumstances affecting the welfare of the minor

     children.” Mother’s motion alleged she was a resident of both New York and of North

     Carolina. Over the course of 2018 and into early 2019, the trial court entered a

     number of orders that granted Father temporary custody of the children and set

     various visitation schedules for Mother. Mother failed to appear at one of these

     hearings. Also during 2018, both parents moved, Father to Summerville, South

     Carolina and Mother to Massachusetts.

¶4         In March 2019, Mother, claiming residence in Massachusetts, filed a domestic

     violence action against Father in Massachusetts and obtained a domestic violence

     protective order from the Massachusetts court; this order also granted her emergency

     temporary custody of the children. Pursuant to the Massachusetts order, Mother

     traveled to South Carolina, took custody of the children, and brought them to

     Massachusetts with her. In response, Father filed before the North Carolina trial

     court an emergency motion to suspend Mother’s visitation, alleging that Mother had
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     made fraudulent claims before the Massachusetts court. The Massachusetts court

     then dismissed the action and dissolved its orders nunc pro tunc. The same day as

     the Massachusetts court’s action, the North Carolina trial court held a hearing on the

     issue. The North Carolina court ordered the children be returned to Father’s custody

     in compliance with its previous orders and notwithstanding the Massachusetts action

     because North Carolina was the only state with subject matter jurisdiction regarding

     child custody.

¶5         Following the Massachusetts incident, the trial court held multiple hearings

     over the course of April 2019, culminating in the May 2019 order and amended order.

     On 3 April 2019, the trial court held an in-chambers discussion with the children

     about the Massachusetts incident and found the children:

                  are very upset with . . . Mother for taking them from South
                  Carolina. The anger had not subsided; however, during the
                  course of the conversation, the court determined that they
                  still loved their [M]other. The minor children did not want
                  to visit with their [M]other, however, they understood the
                  court was likely to order visitation. It was clear that they
                  wanted the visits to be in South Carolina if there was going
                  to be visitation. They did not want to travel to
                  Massachusetts. The minor children gave no indication that
                  . . . Father had influenced them in any way or talked
                  negatively about . . . [M]other.

     The court also barred Mother and Father from asking the children about the in-

     chambers conversation between the court and the children. Following the hearing,

     the court allowed Mother to take the children to lunch. At the lunch, among other
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     events, Mother asked the children about the in-chambers conversation they had with

     the court, thereby violating the court’s order. The trial court made an unchallenged

     Finding of Fact that the lunch “added further toxicity to the relationship” between

     the children and Mother. Following that lunch, Father filed a motion to suspend

     Mother’s visitation, and the court held a hearing on that motion on 11 April 2019.

     The April hearings culminated in an amended order on 9 May 2019 granting

     temporary joint custody to Mother and Father with Father having temporary legal

     and physical custody of the children. The trial court set a visitation schedule for

     Mother, but it also stated: “The minor children will not be forced to visit with

     [Mother] if they choose not [to] do so and they must inform . . . [Mother] of

     their desire not to visit with [Mother].” (Bold and italics in original.)

¶6         The court held a final hearing on the motions for modification of the New York

     custody order on 14–16 August 2019. The day before the hearing, Mother filed a

     motion to dismiss alleging the court lacked subject matter jurisdiction, and she then

     renewed that motion in court at the beginning of the hearing. Mother argued that

     New York had subject matter jurisdiction, not North Carolina, that Father had

     committed fraud by telling the New York court he would live permanently in North

     Carolina with the children, and that the New York court would be the best place to

     address the fraud issue. In Findings of Fact and a Conclusion of Law which Mother

     challenges on appeal, the trial court found North Carolina had subject matter
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     jurisdiction to modify the New York custody order and therefore denied Mother’s

     motion to dismiss. The trial court’s ruling was based on unchallenged Findings of

     Fact that Father and the children moved to North Carolina in March 2017 and lived

     there continuously for more than six months before the action was filed, that Mother

     previously acknowledged and averred to those facts, and that the New York order

     specifically stated the parties were required to register the order in North Carolina

     within seven days and that New York was relinquishing jurisdiction.

¶7         Following the hearing in mid-August 2019, the trial court appointed a

     Guardian Ad Litem (“GAL”) so that the children’s “voices could be heard.” The GAL

     spoke with both parties and the children and prepared a report for the court. The

     court held a hearing about the GAL’s report in September 2019 where it received her

     report into evidence, heard testimony about it, and allowed the parties the

     opportunity to question the GAL. Mother was not present at the hearing without

     explanation, and Father had his attorney present although the attorney did not ask

     the GAL any questions.

¶8         The August and September 2019 hearings led to the trial court’s order now on

     appeal, the “Order on Motions to Modify Custody/Contempt,” in November 2019.

     (Capitalization altered.) The order granted Father sole legal and physical custody of

     the children, denied Mother visitation because it was not in the best interest and

     welfare of the children, and dismissed the contempt issues as moot. To support those
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     orders, the trial court made numerous unchallenged Findings of Fact. Beyond the

     issues discussed above, the trial court made the following unchallenged Findings of

     Fact by “clear, cogent and convincing evidence.” (Underline in original.)

¶9         First, the trial court made Findings about the children’s living arrangements

     with Father. The children lived with Father from the start of the case, and Father

     and the children moved to North Carolina with the previous family therapist’s

     approval. The trial court further found the children were doing well with Father.

     The court noted that prior to the Massachusetts incident, “The children were not in

     any danger. They were very happy in the home of . . . [F]ather. They were doing well

     in school.” The children also continued to do well in their Father’s care following the

     time their Mother took them to Massachusetts, with the court finding at the time of

     the order:

                  174. The minor children are doing well in their [F]ather’s
                  care. They are both doing well in school and are happy in
                  the home of their [F]ather and step-mother.
                  175. [A.S.] developed encopresis which had been treated
                  following the removal and placement in foster care in
                  Colorado.[3] It recurred and he had a few incidents after . .
                  . [M]other removed him from South Carolina with the
                  Massachusetts order which was subsequently dismissed. It
                  is stress related and he is having less stress since the
                  visitation [with Mother] had stopped.
                  176. They are doing much better now in therapy. They


           3 Prior to living in New York, Mother and the children had resided in Colorado, where

     there was an investigation by child protective services that resulted in the children being
     removed from Mother’s care and being placed in foster care.
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                   enjoy the sessions as it is now totally focused on them. They
                   enjoy school and they have good grades.
                   177. They attend [redacted] High School. [D.S.] is playing
                   football and running track. His grades last year were all
                   A’s except a B in Spanish.

¶ 10         The trial court also considered and ultimately rejected Mother’s evidence that

       Father was harming her and the children. Mother introduced evidence from the

       children’s therapist with accusations that Father had “heavily coached” the children

       to “alienate[]” them from Mother and that Father was “fixated about making

       accusations against” Mother. After reviewing and evaluating the evidence, the trial

       court made unchallenged Findings the therapist’s accusations were “without a valid

       basis” and based on “assumptions he was not in a position to make.” The trial court

       also made further Findings about the Massachusetts incident, concluding in line with

       the Massachusetts court that Mother had falsely alleged domestic violence:

                   127. On or about March, 2019, she went to the
                   Massachusetts court and obtained a DVPO [domestic
                   violence protection order] with custody provisions by
                   making false statements and testimony to the
                   Massachusetts court.
                   ...
                   129. She alleged domestic violence which was not true.
                   ...
                   132. She lied to the Judge in Massachusetts to the point
                   that the matter was not just dismissed but vacated nunc
                   pro tunc.
                   133. The Judge was clearly disgusted with the whole
                   process as she had questioned . . . [M]other extensively at
                   the ex-parte hearing as she felt she did not have
                   jurisdiction.
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                    134. The Court determined . . . [M]other made false
                    statements. She uprooted the children and took them to a
                    state in which they had never lived.
                    135. She told the Judge at the Ex-parte hearing that she
                    and the children had lived there since September, 2018.
                    That she had to have surgery so she took the children to . .
                    . [F]ather to stay. She further alleged domestic violence
                    including harm to the children, all of which was untrue.

¶ 11         Beyond the unchallenged Findings about Father, the trial court also made

       unchallenged Findings about Mother’s actions and relationship with the children.

       First, the trial court noted the negative impact the Massachusetts incident had on

       the children. The trial court found the incident “was a very traumatic experience for

       both boys” that “is having a lasting impact upon them emotionally.”            Mother

       “disrupted their education in that she took them without warning, did not enroll them

       in school and cut off their contact with their [F]ather and stepmother as well as their

       friends. (This lasted for approximately two (2) weeks.).” The trial court found the

       children viewed the situation as Mother having “essentially kidnapped them.” As a

       result, the children were “angry” with Mother and “no longer want[ed] to have contact

       with” Mother because of Mother’s actions. At the time, Mother had not realized the

       impact of the Massachusetts incident, and the trial court also found she still did not

       “demonstrate an appreciation for the trauma she caused.”

¶ 12         The trial court also made unchallenged Findings beyond the Massachusetts

       incident.   It found Mother hindered the children’s therapy by “dominat[ing] the
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       sessions” such that they “obtained little if any benefit.”          Once the children

       transitioned to individual therapy without Mother, they started “doing much better

       in therapy.” Further, the trial court made an unchallenged Finding that it is “very

       likely” that Mother “suffers from mental or emotional issues of unknown etiology.”

¶ 13         Finally, the trial court made several unchallenged Findings of Fact about the

       children’s resistance to continued visitation with Mother. Even before the trial court

       got involved, the children were “resistant to visiting” with Mother, although under a

       therapist’s supervision they initially graduated from supervised visitation to

       unsupervised visitation. Following the Massachusetts incident, the children told the

       court at the in-chambers meeting they “did not want to visit with” Mother. Following

       that time, “[t]he children have become increasingly resistant to visiting with” Mother.

       Ultimately, by the time the order was entered, the trial court found the children “do

       not want to visit with or even talk to” Mother. The children even “declined to have

       dinner or otherwise visit with” Mother during the trial. The trial court further found

       Mother had “disrupt[ed] the peace and tranquility of the minor children’s lives in her

       effort to force visitation on them.” The stress of visitation was so great that it caused

       one of the children to suffer a reoccurrence of a stress-related ailment that has

       improved since visitation stopped, which decreased the children’s stress levels.

¶ 14         Based upon all these Findings, the trial court granted Father sole legal and

       physical custody of the children and denied Mother visitation, finding it was not in
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       the best interest and welfare of the children. This Court allowed Mother’s petition

       for writ of certiorari “for purposes of reviewing the ‘Order on Motions to Modify

       Custody/ Contempt’” and the amended order.

                               II.   Subject Matter Jurisdiction

¶ 15          Mother first argues the trial court lacked subject matter jurisdiction. The

       argument takes two forms. First, Mother lists a number of “[e]xception[s],” all of

       which relate to the trial court’s denial of Mother’s motion to dismiss based on lack of

       subject matter jurisdiction or the trial court’s Findings of Fact and Conclusions of

       Law on subject matter jurisdiction. We note that exceptions were eliminated in

       changes to the Rules of Appellate Procedure effective as of October 2009. See 363

       N.C. at 901, 935–38 (enacting new Rules of Appellate Procedure and listing new Rule

       10 as well as history of changes, including “delet[ion of] former 10(a)”); 324 N.C. at

       638 (laying out old Rule of Appellate Procedure 10(a), requiring assignments of error);

       287 N.C. at 698–99 (recounting Rule of Appellate Procedure 10(a) as originally

       enacted, which includes the term “exceptions” in the places where Rule 10(a) before

       2009 used the term “assignments of error” and requires “exceptions” to be the basis

       of assignments of error).4 Although this method is not in compliance with the Rules



              4 This citation sentence cites to appendices in the hardcopy versions of the North

       Carolina Reporter. A citation to the hardcopy is required because the online versions of the
       North Carolina Reporter on Westlaw and Lexis do not include the appendices nor historical
       versions of the North Carolina Rules of Appellate Procedure.
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       of Appellate Procedure, we will treat Mother’s “exceptions” as challenges to the noted

       Findings of Fact and Conclusions of Law.

¶ 16         Mother’s other arguments on subject matter jurisdiction are more specific.

       First, Mother argues the trial court should have declined to exercise jurisdiction

       pursuant to North Carolina General Statute § 50A-208(a) because “any subject

       matter jurisdiction” the trial court “might have obtained was the result of fraud.”

       (Capitalization altered.) Specifically, Mother argues she had evidence that Father

       “falsely represented to her and the New York court that he planned to live in North

       Carolina at least until the children graduated from high school.” As part of this

       argument under § 50A-208(a), Mother would have to demonstrate that the New York

       court, as a “court of the state otherwise having jurisdiction,” did not determine “that

       this State [North Carolina] is a more appropriate forum.” N.C. Gen. Stat. § 50A-

       208(a)(2) (citations omitted). Mother’s response to this exception to § 50A-208(a)’s

       requirement for a trial court to decline jurisdiction in certain situations is that, “it

       would be up to the New York court to make the determination that North Carolina

       would be the more appropriate forum.” The crux of these arguments is again that

       “the trial court erred in finding and concluding that North Carolina had subject

       matter jurisdiction and had jurisdiction to modify the New York custody order” and

       denying Mother’s motion to dismiss on those grounds. (Capitalization altered.)
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       A. Standard of Review

¶ 17         Oddly, Mother filed the “Petition for Registration of Foreign Child Custody

       Order” and the “Motion for Modification of Parenting Time Schedule” that led to the

       order from which Mother appeals. (Capitalization altered.) See Booker v. Strege, 256

       N.C. App 172, 174, 807 S.E.2d 597, 599 (2017) (“Oddly, it was defendant who filed for

       modification of custody in North Carolina[.]”). “[N]onetheless, a party cannot confer

       subject matter jurisdiction on a court merely by requesting relief in it.” Id. (citing In

       re T.R.P., 360 N.C. 588, 595, 636 S.E.2d 787, 793 (2006) (“Subject matter jurisdiction

       cannot be conferred upon a court by consent, waiver or estoppel, and therefore failure

       to object to the jurisdiction is immaterial.      Because litigants cannot consent to

       jurisdiction not authorized by law, they may challenge jurisdiction over the subject

       matter at any stage of the proceedings, even after judgment.” (noting alterations))).

       “Whether a trial court has subject-matter jurisdiction is a question of law, reviewed

       de novo on appeal.” McKoy v. McKoy, 202 N.C. App. 509, 511, 689 S.E.2d 590, 592
       (2010); see also Matter of T.R., 250 N.C. App. 386, 389, 792 S.E.2d 197, 200 (2016)

       (“The issue of whether a trial court possesses jurisdiction under the UCCJEA is a

       question of law that we review de novo.”) (citing In re J.H., 244 N.C. App. 255, 260,

       780 S.E.2d 228, 233 (2015)).

       B. Analysis

¶ 18         As explained above, Mother challenges both the general Findings of Fact and
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       Conclusions of Law determining the trial court had subject matter jurisdiction by

       listing exceptions and makes a specific challenge to such jurisdiction via North

       Carolina General Statute § 50A-208(a). We first address the general argument that

       the trial court lacked subject matter jurisdiction and then turn to the specific

       argument pursuant to § 50A-208(a).

          1. Subject Matter Jurisdiction Generally

¶ 19         Since the original child custody order in this case is from New York, the

       applicable provision of the UCCJEA is North Carolina General Statute § 50A-203,

       which addresses when North Carolina courts can modify a “child-custody

       determination made by a court of another state.” N.C. Gen. Stat. § 50A-203 (2019).

                    Under the applicable provisions of N.C. Gen. Stat. § 50A–
                    203, a North Carolina court may modify an out-of-state
                    child custody determination if both (1) North Carolina “has
                    jurisdiction to make an initial determination under G.S.
                    50A–201(a)(1) or G.S. 50A–201(a)(2)” and (2) “[t]he court of
                    the other state determines it no longer has exclusive,
                    continuing jurisdiction under G.S. 50A–202 or that a court
                    of this State would be a more convenient forum under G.S.
                    50A–207[.]” N.C. Gen. Stat. § 50A–203(1) (emphasis
                    added).

       Matter of T.R., 250 N.C. App. at 389, 792 S.E.2d at 200 (footnote omitted) (all

       alterations and emphasis in original).

¶ 20         The first part of § 50A-203’s test imports the requirements from § 50A-201(a).

       The latter section states:
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                   (a) Except as otherwise provided in G.S. 50A-204, a court
                   of this State has jurisdiction to make an initial child-
                   custody determination only if:
                          (1) This State is the home state of the child on the
                          date of the commencement of the proceeding, or was
                          the home state of the child within six months before
                          the commencement of the proceeding, and the child
                          is absent from this State but a parent or person
                          acting as a parent continues to live in this State;
                          (2) A court of another state does not have jurisdiction
                          under subdivision (1), or a court of the home state of
                          the child has declined to exercise jurisdiction on the
                          ground that this State is the more appropriate forum
                          under G.S. 50A-207 or G.S. 50A-208, and:
                          a. The child and the child’s parents, or the child and
                          at least one parent or a person acting as a parent,
                          have a significant connection with this State other
                          than mere physical presence; and
                          b. Substantial evidence is available in this State
                          concerning the child’s care, protection, training, and
                          personal relationships;

       N.C. Gen. Stat. § 50A-201(a) (2019). The term “home state” is defined as:

                   the state in which a child lived with a parent or a person
                   acting as a parent for at least six consecutive months
                   immediately before the commencement of a child-custody
                   proceeding. In the case of a child less than six months of
                   age, the term means the state in which the child lived from
                   birth with any of the persons mentioned. A period of
                   temporary absence of any of the mentioned persons is part
                   of the period.

       N.C. Gen. Stat. § 50A-102(7) (2019).

¶ 21         Here, North Carolina was the home state for the children when the child

       custody proceeding commenced.      The uncontested Findings of Fact found: “The
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       children and . . . [F]ather resided in North Carolina for more than six consecutive

       months immediately preceding the filing of the matter. (March, 2017 until the

       registration in December, 2017 and the filings beginning in January, 2018).” This

       Finding of Fact was based on Mother’s own original Motion for Modification of

       Parenting Time Schedule that indicated both children lived with Father in North

       Carolina for the past six months. Thus our de novo review does not find anything

       different from the trial court. Because a parent, Father, and the children lived in

       North Carolina for at least six months before proceedings began, North Carolina is

       the home state. N.C. Gen. Stat. § 50A-102(7). Because North Carolina is the home

       state, its courts, including the trial court, had jurisdiction under § 50A-201(a)(1).

¶ 22         Turning to the second requirement to modify an out-of-state child custody

       order, § 50A-203 requires “[t]he court of the other state [to] determine[] it no longer

       has exclusive, continuing jurisdiction under G.S. 50A–202 or that a court of this State

       would be a more convenient forum under G.S. 50A–207[.]” Matter of T.R., 250 N.C.

       App. at 389, 792 S.E.2d at 200 (citing N.C. Gen. Stat. § 50A-203(1)) (first and last

       alterations in original). Here, as the trial court found, the New York child custody

       order specifically stated it was “relinquishing [j]urisdiction,” once as a freestanding

       statement and once when it ordered the parents to register the order in North

       Carolina within seven days. Thus, the second jurisdictional requirement to modify

       an out-of-state child custody order is also met. Because both requirements of § 50A-
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       203 are met, we conclude after de novo review that the trial court had subject matter

       jurisdiction.

          2. Jurisdiction and § 50A-208(a)

¶ 23          Turning to Mother’s second argument, we must address whether the trial court

       should have declined to exercise jurisdiction under North Carolina General Statute §

       50A-208(a). That section provides: “Except as otherwise provided in G.S. 50A-204 or

       by other law of this State, if a court of this State has jurisdiction under this Article

       because a person seeking to invoke its jurisdiction has engaged in unjustifiable

       conduct, the court shall decline to exercise its jurisdiction unless” one of its exceptions

       applies. N.C. Gen. Stat. § 50A-208(a). The exceptions5 that allow the court to still

       exercise jurisdiction are:

                       (1) The parents and all persons acting as parents have
                       acquiesced in the exercise of jurisdiction;
                       (2) A court of the state otherwise having jurisdiction under
                       G.S. 50A-201 through G.S. 50A-203 determines that this
                       State is a more appropriate forum under G.S. 50A-207; or
                       (3) No court of any other state would have jurisdiction
                       under the criteria specified in G.S. 50A-201 through G.S.
                       50A-203.

       N.C. Gen. Stat. § 50A-208(a)(1)–(3).

¶ 24          Here, the trial court’s undisputed Findings of Fact show that the lower court




              5 This specifically refers to the exceptions in § 50A-208(a)(1)–(3) because the opening

       clause’s references to § 50A-204 or other law in North Carolina do not apply.
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       fully considered Mother’s allegations of Father’s fraud and simply did not find them

       credible. The trial court heard from Mother and reviewed both the New York order

       and court file. The trial court found the necessary facts to support subject matter

       jurisdiction. A review of the transcript from the trial court hearing further supports

       that the trial court fully considered the alleged fraud issue; it asked questions of

       Mother and took time to review the papers throughout. At one point, the trial court

       even said, “I’m just going to let her [Mother] argue at this point,” after Father’s

       attorney made repeated motions to strike Mother’s arguments and the trial court had

       previously sustained Father’s objections.

¶ 25         We further note that the “fraud” alleged by Mother was Father’s

       representation that he “planned to live in North Carolina at least until the children

       graduated from high school” but he later moved to South Carolina. There is no

       question that he and the children did live in North Carolina for one year and three

       months (March 2017 to June 2018) and he later moved to South Carolina. Normally,

       fraud is a misrepresentation of a past or existing fact. See Odom v. Little Rock &amp; I-

       85 Corp., 299 N.C. 86, 91, 261 S.E.2d 99, 103 (1980) (requiring for a prima facie case

       of fraud that a plaintiff show “(a) that the defendant made a representation relating

       to some material past or existing fact . . . .” (Emphasis added.)), overruled on other

       grounds Myers &amp; Chapman, Inc. v. Thomas G. Evans, Inc., 323 N.C. 559, 374 S.E.2d

       385 (1988). Mother does not allege that Father misrepresented his actual residence
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       in North Carolina. Home state jurisdiction under the UCCJEA is based upon the

       actual residence of the parent and children for a period of at least six months, N.C.

       Gen. Stat. § 50A-102(7), and there is no question that Father and the children did

       reside in North Carolina for this time, even if they later moved. The UCCJEA does

       not base jurisdiction on where a parent plans or intends to reside in the future, but

       on the actual residence. Thus, we do not find support for invoking § 50A-208(a)’s

       jurisdictional bar based on unjustifiable conduct.

¶ 26         But even if we assume Father made some misrepresentation of his future

       intent, this case would fall within the exceptions in § 50A-208(a)(1)–(3). First, the

       parents acquiesced in the exercise of jurisdiction, meeting the requirement of § 50A-

       208(a)(1). Parents can acquiesce to jurisdiction by registering an out-of-state child

       custody order here or by filing a child custody action in the state. Quevedo-Woolf v.

       Overholser, 261 N.C. App. 387, 411, 820 S.E.2d 817, 833 (2018). While Father does

       not challenge jurisdiction, we note he acquiesced in jurisdiction when he filed a

       motion to modify custody in the case. As with the plaintiff in Quevedo-Woolf, Mother

       here acquiesced to the exercise of jurisdiction both by registering the New York

       custody order here and by filing her own motion to modify child custody here. Id.
       Mother argues she only arguably acquiesced to jurisdiction in North Carolina “on the

       basis of [Mother]’s reasonable reliance upon [Father]’s false representations that he

       intended to remain in North Carolina with the children.”
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¶ 27         Beyond Mother’s acquiescence to jurisdiction, the exception in § 50A-208(a)(2)

       also applies.   Under that exception, when a state otherwise having jurisdiction

       determines that North Carolina is the more appropriate forum, North Carolina courts

       will have jurisdiction even when there has been unjustifiable conduct. N.C. Gen.

       Stat. § 50A-208(a)(2). Here, New York determined North Carolina was the more

       appropriate forum at the end of the child custody order Mother sought to register and

       then modify. The New York order specifically stated New York was relinquishing

       jurisdiction and ordered the parties to register the order in North Carolina within

       seven days. Mother argues in response that “it would be up to the New York court to

       make the determination that North Carolina would be the more appropriate forum.”

       This argument overlooks that the New York court did just that in its order, as laid

       out above. Thus, even if Father engaged in unjustifiable conduct, the North Carolina

       courts would still have jurisdiction under the exception in § 50A-208(a)(2).

¶ 28         While Mother alleges Father committed fraud, the trial court made undisputed

       Findings of Fact that she had engaged in fraud in Massachusetts. The trial court

       recounted how Mother “gave false statements to the Court in Massachusetts in order

       to obtain a DVPO [domestic violence protection order] against . . . [F]ather with

       custody provisions,” how Mother falsely told the Massachusetts court that the

       children lived in Massachusetts, and how Mother “alleged domestic violence

       including harm to the children, all of which was untrue.” Mother’s misconduct in
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       Massachusetts was so bad “that the matter was not just dismissed but vacated nunc

       pro tunc,” a mechanism which exists, inter alia, “to prevent a failure of justice

       resulting, directly or indirectly from delay in court proceedings subsequent to a time

       when a judgment, order or decree ought to and would have been entered, save that

       the cause was pending under advisement.” Perkins v. Perkins, 114 N.E. 713, 714

       (Mass. 1917) (emphasis added).

¶ 29           Beyond Mother’s fraud in the Massachusetts action, Mother’s allegations

       regarding jurisdiction have also been inconsistent. Mother has alleged at various

       times throughout this litigation that her residence was North Carolina,

       Massachusetts, or New York. Mother’s residence status was so confusing that rather

       than definitively stating where she resided in the order being appealed, the trial court

       could only state Mother “is currently believed to be residing in the state of

       Massachusetts.” (Emphasis added.) Thus, while Mother alleges Father committed

       fraud to manipulate jurisdiction, the trial court found she had engaged in that

       behavior herself as well as other inconsistencies as to her residence.

¶ 30           After de novo review, we reject Mother’s § 50A-208(a) argument as well and

       determine the trial court correctly determined North Carolina courts had subject

       matter jurisdiction under the UCCJEA.

        III.    Challenges to Specific Findings of Fact and Conclusions of Law

¶ 31           Following her jurisdictional argument, Mother challenges numerous Findings
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       of Fact and Conclusions of Law.      As with the jurisdictional challenge, Mother’s

       argument includes a list of exceptions, and we again treat them as challenges to the

       specified Findings of Fact or Conclusions of Law. This time, the exceptions align with

       Mother’s arguments more precisely.

¶ 32         Mother’s challenges can be broken down into specific subjects. First, Mother

       argues the trial court erred in finding and concluding she “acted inconsistently with

       her constitutionally protected status as a parent.” (Capitalization altered.) Further,

       Mother alleges the trial court erred in finding and concluding that “[Father] is a fit

       and proper person to have sole legal and physical custody” and in granting him such

       custody. (Capitalization altered.) These challenges are only made in the exceptions

       and the remainder of the brief does not expand upon them.

¶ 33         In contrast, Mother’s final argument includes both exceptions and further

       discussion in her brief. Mother argues the trial court erred by finding and concluding,

       “it is not in the best interest of the minor children to force visitation on them.”

       (Capitalization altered.) In a similar vein, Mother contends the trial court erred in

       “not allowing [Mother] any visitation with the minor children in that the

       circumstances of the case do not give rise to complete denial of access to the minor

       children.” (Capitalization altered.) Specifically, Mother argues the trial court erred

       by denying all visitation because there were no findings “of physical or sexual abuse

       or severe neglect of the children.” Mother further contends we should consider that
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       the trial court’s May 2019 order came after Mother took the children from South

       Carolina to Massachusetts and even then the trial court allowed Mother to have “full

       weekend visitation (to be exercised in South Carolina) and summer visitation (which

       could be exercised in Massachusetts).” After addressing the standard of review, we

       address each subject in turn.

       A. Standard of Review

¶ 34         “When reviewing a trial court’s decision to grant or deny a motion for the

       modification of an existing child custody order, the appellate courts must examine

       the trial court’s findings of fact to determine whether they are supported by

       substantial evidence.” Shipman v. Shipman, 357 N.C. 471, 474, 586 S.E.2d 250, 253
       (2003). “Substantial evidence is such relevant evidence as a reasonable mind might

       accept as adequate to support a conclusion.” Id. (quotation and citation omitted).

       Trial courts are given “broad discretion” in child custody matters:

                    This discretion is based upon the trial courts’ opportunity
                    to see the parties; to hear the witnesses; and to detect
                    tenors, tones, and flavors that are lost in the bare printed
                    record read months later by appellate judges. Accordingly,
                    should we conclude that there is substantial evidence in
                    the record to support the trial court’s findings of fact, such
                    findings are conclusive on appeal, even if record evidence
                    might sustain findings to the contrary.

       Id., 357 N.C. at 474–75, 586 S.E.2d at 253–54 (citations and quotations omitted).

       Unchallenged findings of fact are “presumed to be supported by competent evidence
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       and [are] binding on appeal.” Koufman v. Koufman, 330 N.C. 93, 97, 408 S.E.2d 729,

       731 (1991).

¶ 35         In addition to evaluating whether findings of fact are supported by substantial

       evidence, the reviewing court “must determine if the trial court’s factual findings

       support its conclusions of law.” Shipman, 357 N.C. at 475, 586 S.E.2d at 254. We

       review whether the findings of fact support the conclusions of law de novo. Respess

       v. Respess, 232 N.C. App. 611, 614, 754 S.E.2d 691, 695 (2014) (citing Owenby v.

       Young, 357 N.C. 142, 145, 579 S.E.2d 264, 268 (2003)) (other citation omitted). “If

       the trial court’s uncontested findings of fact support its conclusions of law, we must

       affirm the trial court’s order.” Id., 232 N.C. App. at 614–15, 754 S.E.2d at 695 (citing

       Mussa v. Palmer-Mussa, 366 N.C. 185, 191, 731 S.E.2d 404, 409 (2012)).

       B. Analysis

¶ 36         We now address in turn each of the subjects in Mother’s challenges to the

       Findings of Fact and Conclusions of Law, as laid out above. We briefly note a common

       issue across the areas. Mother challenged only the ultimate Findings of Fact, not

       Findings as to specific events and actions upon which the ultimate Findings are

       based. Because unchallenged Findings of Fact are binding, Koufman, 330 N.C. at 97,

       408 S.E.2d at 731, we merely need to assess whether the unchallenged Findings of

       Fact that describe Mother’s conduct support the ultimate Findings of Fact. In other

       words, we are assessing the challenged Findings of Fact in essentially the same way
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       we would review disputed Conclusions of Law. That the challenged Findings of Fact

       mirror the challenged Conclusions of Law further supports this approach. As this

       Court has previously stated, findings of fact and conclusions of law that “say the same

       thing . . . are best characterized as conclusions of law.” Walsh v. Jones, 263 N.C. App.

       582, 589, 824 S.E.2d 129, 134 (2019). Thus, as to each of the challenged categories,

       we will assess whether the unchallenged Findings of Fact support the challenged

       Conclusions of Law. If they do, then, by definition, the mirroring ultimate Findings

       of Fact are supported by substantial evidence. See Shipman, 357 N.C. at 474, 586

       S.E.2d at 253 (“Substantial evidence is such relevant evidence as a reasonable mind

       might accept as adequate to support a conclusion.”) (citation and quotations omitted)

       (emphasis added).

          1. Findings and Conclusions on Mother’s Constitutionally Protected
             Status as a Parent

¶ 37         Mother’s first set of exceptions takes issue with the trial court’s Findings of

       Fact and Conclusions of Law that she acted inconsistently with her constitutionally

       protected status as a parent.      Mother makes no argument beyond listing the

       exceptions, and it is not clear to us, absent any argument to the contrary, that these

       Findings and Conclusions are even relevant.           As our Supreme Court recently

       reiterated in Routten v. Routten, the constitutionally protected status right of parents

       “is irrelevant in a custody proceeding between two natural parents . . . . In such
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       instances, the trial court must determine custody using the ‘best interest of the child’

       test.” See 374 N.C. 571, 577–78, 843 S.E.2d 154, 158–59 (2020) (reiterating support

       for the quoted language from past cases and “expressly overrul[ing]” cases from this

       Court that applied the constitutionally protected status right to disputes between two

       parents) (quoting Owenby, 357 N.C. at 145, 579 S.E.2d at 267) (emphasis in original).

       Since this is a dispute between two natural parents, these Findings and Conclusions

       are irrelevant to the custody modification order, so we do not address them.

¶ 38         Beyond Mother expressly challenging the constitutionally protected status

       Finding, one of the relevant exceptions extends the challenge to the trial court’s

       Finding that she was not “a fit and proper person for care, custody, and control of the

       minor children.”    Fitness, or lack thereof, is part of the same constitutionally

       protected status of a parent framework that does not apply to child custody disputes

       between two parents, except as relevant to the denial of visitation under North

       Carolina General Statute § 50-13.5(i) as discussed below. See Owenby, 357 N.C. at

       145, 579 S.E.2d at 266–67 (explaining “absent a finding that parents (i) are unfit or

       (ii) have neglected the welfare of their children, the constitutionally protected

       paramount right of parents to custody, care, and control of their children must

       prevail” before then stating that right is irrelevant in a custody proceeding between

       natural parents) (quoting Petersen v. Rogers, 337 N.C. 397, 403–04, 445 S.E.2d 901,

       905 (1994)). While we discuss the Finding that Mother was unfit below in the
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       statutory context, we note that in the constitutional context, it is irrelevant, so we do

       not address it further.

          2. Findings and Conclusions on Father’s Sole Legal and Physical
             Custody

¶ 39         Mother’s next set of exceptions, which also contain no separate argument,

       challenge the trial court’s Findings of Fact and Conclusions of Law that Father is a

       fit and proper person to have legal custody and that it is in the best interest of the

       children that Father have sole custody. Mother likewise listed exceptions to the trial

       court’s order, which was subsequently amended, granting Father “sole legal and

       physical custody.” (Emphasis omitted.) We address the Findings and Conclusions on

       Father being a fit and proper person to have legal and physical custody and then

       review the best interest of the child analysis.

¶ 40         As with the Findings and Conclusions on Mother’s constitutionally protected

       status as a parent above, the parts of the custody modification order concerning

       Father’s fitness are irrelevant.    As explained above, fitness is part of the same

       constitutionally protected status of a parent framework that does not apply to child

       custody disputes between two parents, except as relevant to the statutory denial of

       visitation scheme. Owenby, 357 N.C. at 145, 579 S.E.2d at 266–67. Rather, in child

       custody disputes between two parents, the trial court determines custody solely using

       the “best interest of the child” test. Routten, 374 N.C. at 578, 843 S.E.2d at 159 (citing
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       Adams v. Tessener, 354 N.C 57, 61, 550 S.E.2d 499, 502 (2001)).

¶ 41         “The welfare or best interest of the child, in light of all the circumstances, is

       the paramount consideration which guides the court in awarding the custody of the

       minor child[ren]. It is the polar star by which the discretion of the court is guided.”

       Phelps v. Phelps, 337 N.C. 344, 354, 446 S.E.2d 17, 23 (1994) (internal citations and

       quotations omitted). “Trial courts are permitted to consider an array of factors in

       order to determine what is in the best interest of the child[ren].” Id., 337 N.C. at 352,

       446 S.E.2d at 22. “Since the trial court had the opportunity to see the parties in

       person and to hear the witnesses and determine credibility,” appellate review “is

       confined to whether the court abused its discretion.” Cox v. Cox, 133 N.C. App. 221,

       228–29, 515 S.E.2d 61, 67 (1999).

¶ 42         Here, the trial court made extensive, unchallenged Findings of Fact to support

       its ultimate Finding of Fact, similar Conclusion of Law, and order that “[i]t is in the

       best interest and welfare of the minor children that . . . Father be awarded sole

       custody of the minor children.” First, the trial court made numerous unchallenged

       Findings of Fact indicating the children have been and are doing well living with

       Father. The trial court noted the children lived primarily with Father at the start of

       this case and the children’s previous therapist in New York approved that setup.

       Prior to the incident when Mother took them to Massachusetts, the children were

       doing well with Father, with the trial court specifically finding they were happy in
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       Father’s home and doing well in school. Further, the trial court found at the time of

       its ruling: “The minor children are doing well in their [F]ather’s care. They are both

       doing well in school and are happy in the home of their [F]ather and step-mother.”

¶ 43          The trial court also made unchallenged Findings about the harm Mother’s

       actions have caused the children. It specifically found the children are “angry” with

       Mother and “no longer want[] to have contact with her” because of her own actions.

       The trial court also recounted Mother’s actions in taking the children to

       Massachusetts, which the children viewed as Mother having “essentially kidnapped

       them.”   Further, the trial court found the Massachusetts incident “was a very

       traumatic experience for both boys” that “is having a lasting impact upon them

       emotionally.” Mother also “does not demonstrate an appreciation for the trauma she

       caused” by that incident nor the negative impacts taking the children to

       Massachusetts had on them: “She disrupted their education in that she took them

       without warning, did not enroll them in school and cut off their contact with their

       [F]ather and stepmother as well as their friends. (This lasted for approximately two

       (2) weeks.).” Lastly, as to Mother, the trial court made an unchallenged Finding that

       it is “very likely” that Mother “suffers from mental or emotional issues of unknown

       etiology.”

¶ 44          Finally, in addition to its Findings about the benefits of staying with Father

       and the harm Mother had caused, the trial court considered Mother’s evidence that
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       Father was harming her and the children. Mother introduced via the children’s

       therapist accusations that Father had “heavily coached” the children in order to

       “alienate[]” them from Mother as part of his “fixat[ion] about making accusations

       against” Mother. While the trial court extensively reviewed that evidence, the trial

       court found the therapist had no “valid basis” to make the statements he did because

       he made “assumptions he was not in a position to make.”           The trial court also

       considered Mother’s previous allegations that Father had committed domestic

       violence against her and the children, but again it rejected those allegations.

¶ 45         Given the unchallenged Findings of Fact, it is clear the trial court had

       substantial support for its ultimate Findings of Fact, the Conclusions of Law, and its

       determination that it was in the best interest of the children for Father to have sole

       legal and physical custody of the children. We conclude the trial court did not abuse

       its discretion, and Mother’s exceptions suggesting otherwise are unfounded.

          3. Findings and Conclusions on Visitation with Mother

¶ 46         Mother’s final arguments center on the trial court’s Findings, Conclusions, and

       order that it is not in the best interest of the children for Mother to have visitation.

       In addition to the exceptions she lists, Mother argues the trial court erred in denying

       her all visitation because: (1) there were no findings of physical or sexual abuse or

       severe neglect as she alleges are required and (2) the May 2019 order still granted

       Mother full weekend and summer visitation, even though it came after many relevant
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       events. We address the general argument via the exceptions first before turning to

       Mother’s specific arguments about the lack of abuse or neglect and the visitation

       provisions of the May 2019 order.

¶ 47         Visitation, like custody, employs the best interests of the child test, and that

       test can lead to denying a parent all visitation:

                    Our courts have long recognized that sometimes, a custody
                    order denying a parent all visitation or contact with a child
                    may be in the child’s best interest:
                           “Although courts seldom deny visitation rights to a
                           noncustodial parent, a trial court may do so if it is in
                           the best interests of the child:
                                  ‘The welfare of a child is always to be treated
                                  as the paramount consideration. Courts are
                                  generally reluctant to deny all visitation
                                  rights to the divorced parent of a child of
                                  tender age, but it is generally agreed that
                                  visitation rights should not be permitted to
                                  jeopardize a child’s welfare.’
                           This principle is codified in N.C. Gen. Stat. § 50–
                           13.5(i), which provides that:
                                  ‘In any case in which an award of child
                                  custody is made in a district court, the trial
                                  judge, prior to denying a parent the right of
                                  reasonable visitation, shall make a written
                                  finding of fact that the parent being denied
                                  visitation rights is an unfit person to visit the
                                  child or that such visitation rights are not in
                                  the best interest of the child.’”

       Huml v. Huml, 264 N.C. App. 376, 399–400, 826 S.E.2d 532, 548 (2019) (quoting

       Respess, 232 N.C. App. at 615–16, 754 S.E.2d at 696) (alterations from original,

       citations, and quotations omitted).
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¶ 48         Here, the trial court made extensive, detailed Findings as to Mother’s actions

       and the effect those actions had on her children. As part of gathering evidence to

       make these Findings, the trial court appointed a GAL for the children to provide

       additional information. The GAL spoke with Mother, Father, and both children and

       then prepared a report.

¶ 49         Many of these Findings focused on the fallout from the incident when Mother

       took the children to Massachusetts, which we have already discussed above. The trial

       court’s findings also went beyond that incident. First, the trial court recounted how

       it allowed Mother to take the children to lunch shortly after the Massachusetts

       incident only to have the lunch dominated by Mother asking the children about what

       they had told the court in chambers, in violation of a court order, which “added further

       toxicity to the relationship” between Mother and the children. The trial court also

       recounted how when the children were in therapy, Mother “dominated the sessions

       and they obtained little if any benefit.” Finally, the trial court documented how the

       children did not want to see Mother as the case was being tried, which was in part

       due to one of the children being forced to spend his sixteenth birthday in court. This

       culminated in a situation where the children no longer want to see Mother at all

       because of how she acts during visits. The stress she causes is so extreme that one of

       her children suffered a reoccurrence of a stress-related physical ailment that subsided

       once visitation stopped and he was having less stress.
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¶ 50         As the children were ages 14 and 16 by the time the trial court’s order came

       out, they were old enough for the trial court to give their wishes to no longer see

       Mother considerable weight. See Falls v. Falls, 52 N.C. App. 203, 209–10, 278 S.E.2d

       546, 551 (1981) (“[T]he wishes of a child of sufficient age to exercise discretion in

       choosing a custodian is entitled to considerable weight when the contest is between

       the parents, but is not controlling.” (quoting Hinkle v. Hinkle, 266 N.C. 189, 197, 146

       S.E.2d 73, 79 (1966))); see also Clark v. Clark, 294 N.C. 554, 555, 576–77, 243 S.E.2d

       129, 130, 142 (1978) (reversing and remanding case in part because the children were

       all older than eleven at the time of remand and thus it was “appropriate and desirable

       for the judge to ascertain and consider their wishes in respect to their custody”). The

       trial court took the children’s wishes into account when it ordered that no visitation

       schedule be set.

¶ 51         Mother acknowledges that the children’s wishes should be taken into account,

       relying on Clark. However, she argues the children’s wishes “should not be the sole

       determining factor.” That is an accurate statement of law. See Falls, 52 N.C. App.

       at 209–10, 278 S.E.2d at 551 (recounting how wishes of children are not controlling).

       But it is not an accurate statement of the trial court’s actions here. As discussed

       above, the trial court made extensive Findings about the negative impacts Mother

       had on the children, including the harm visitation was causing them. While those

       negative impacts may have underlay the children’s wishes to no longer have
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       visitation with Mother, they are also separate facts supporting the trial court’s order

       denying Mother visitation. As such, the trial court did not make its decision solely

       based on the children’s wishes.

¶ 52         Adding extra weight to the Findings, the trial court made them all by “clear,

       cogent and convincing evidence,” higher than the required preponderance standard.

       (Emphasis omitted); Walsh, 263 N.C. at 590 n.3, 824 S.E.2d at 134–35 n.3 (citing

       Speagle v. Seitz, 354 N.C. 525, 533, 557 S.E.2d 83, 88 (2001) (“[T]he applicable

       standard of proof in child custody cases is by a preponderance, or greater weight, of

       the evidence.” (alteration in original))). Further, all these Findings are unchallenged;

       Mother only challenges the ultimate Finding, Conclusion of Law, and order denying

       her visitation. Mother further recognized the weighty evidence in support of the trial

       court’s Findings. Her brief includes many of the same Findings we discussed above

       in stating “there are evidentiary findings adverse to [Mother].”

¶ 53         Despite the significant unchallenged Findings on which the trial court relied

       in determining it was in the best interest of the children to not have visitation with

       Mother, she still argues the evidence was insufficient for two reasons. First, Mother

       argues the trial court erred in denying all visitation because there was not “any

       finding of physical or sexual abuse or severe neglect of the children.” Contrary to that

       argument, which Mother makes without citation to authority, the trial court does not

       have to find a parent has physically or sexually abused the children or “severely
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       neglected” them before ceasing visitation. Under North Carolina General Statute §

       50-13.5(i):

                     In any case in which an award of child custody is made in
                     a district court, the trial judge, prior to denying a parent
                     the right of reasonable visitation, shall make a written
                     finding of fact that the parent being denied visitation rights
                     is an unfit person to visit the child or that such visitation
                     rights are not in the best interest of the child.

       As we have already discussed, the trial court made extensive Findings of Fact

       regarding its reasons for the custody order and the denial of visitation, including both

       a Finding of Mother’s unfitness and a Finding that visitation rights are not in the

       best interest of the children. Section 50-13.5(i) requires specific findings to support

       the denial of visitation and the best interests of the children but does not require

       findings of physical or sexual abuse or severe neglect. The trial court correctly

       applied the best interest of the child standard, and the extensive unchallenged

       Findings of Fact support its determination. See Huml, 264 N.C. App. at 399–400, 826

       S.E.2d at 548 (noting courts use the best interest of the child standard on questions

       about visitation). While Mother cites cases in which all visitation was denied because

       of sexual or physical abuse, that argument misses the point. While sexual or physical

       abuse could support the denial of visitation in the appropriate case, such abuse is not

       necessary to make that decision.

¶ 54          Mother also argues the trial court erred in denying her any visitation because
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       its May 2019 orders, which came after the Massachusetts incident and court inquiry

       into it, “nevertheless granted [Mother] full weekend visitation . . . and summer

       visitation.” This argument fails both in theory and on the evidence before us. First,

       Mother’s argument would upend a basic tenet of family law, that courts have the

       power to make changes to even permanent orders in response to a substantial change

       in circumstances. E.g. Blackley v. Blackley, 285 N.C. 358, 362, 204 S.E.2d 678, 681
       (1974); see also In re Marlowe, 268 N.C. 197, 199, 150 S.E.2d 204, 206 (1966)

       (“Changed conditions will always justify inquiry by the courts in the interest and

       welfare of the children, and decrees may be entered as often as the facts justify.”

       (emphasis added)). We therefore reject Mother’s argument that a past grant of

       visitation on a temporary custody order bars the court from denying visitation in the

       future.

¶ 55         Beyond the legal issues, Mother’s argument does not align with the trial court’s

       actions and the evidence it had available to it. While Mother says the May 2019 order

       granted her visitation, she fails to include the part of the order stating, “The minor

       children will not be forced to visit with [Mother] if they choose not [to] do so

       and they must inform . . . [Mother] of their desire not to visit with [Mother].”

       (Bold and italics in original.) Thus, the trial court’s May 2019 order envisioned the

       possibility of Mother having no visitation because the children would not be forced to

       visit. Further, in changing the order to not set any visitation, the trial court relied
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       on additional, unchallenged Findings from the period after May 2019, such as the

       additional information from the GAL, which further detailed the children’s feelings,

       the fact that the children did not want to see Mother during trial, and the decrease

       in stress and resulting health improvement one of the children had after visitation

       stopped. Given these additional facts as well as the court’s authority to change even

       permanent orders in certain circumstances, Mother’s argument about the May 2019

       order’s visitation provision does not convince us.

¶ 56         The trial court’s unchallenged Findings of Fact provide ample support for its

       ultimate Finding, Conclusion of Law, and order that it is in the children’s best

       interests for Mother to not have visitation. As a result, the trial court did not abuse

       its discretion. The trial court in this case went above and beyond the call of duty in

       documenting each of many in-chambers conferences and in explaining its rulings as

       to each and every request Mother made. The trial court also accommodated Mother’s

       pro se filings and her failures to appear on several occasions. The trial court took its

       role of protecting the best interests of the children very seriously, and this is evident

       in the orders. We find no issue with its analysis.

                                       IV.     Conclusion

¶ 57         After de novo review, we find the trial court had subject matter jurisdiction

       under the UCCJEA and that no unjustifiable conduct under North Carolina General

       Statute § 50A-208(a) otherwise interferes with the jurisdiction, especially given that
                              MALONE-PASS V. SCHULTZ

                                    2021-NCCOA-656

                                   Opinion of the Court



section’s exceptions. We do not address Mother’s challenges to the Findings of Fact

and Conclusions of Law that she did not act consistently with her constitutionally

protected status as a parent and that Father was a fit and proper person to have

custody because those are not relevant in a custody dispute between two parents,

except as to the visitation issue. Finally, we find the uncontested Findings support

the ultimate Findings, Conclusions, and the order provisions granting Father sole

legal and physical custody and denying Mother visitation based on the best interest

of the children, so the trial court did not abuse its discretion on those matters.

Therefore, we affirm the trial court’s order.

      AFFIRMED.

      Judges HAMPSON and GRIFFIN concur.
